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                                  UNITED STATES DISTRICT COURT
                                   MIDDLE DISTRICT OF FLORIDA
                                         TAMPA DIVISION



    UNITED STATES OF AMERICA

    v.                                                       Case No. 8:10-cr-303-T-23MAP
                                                                      8:11-cv-624-T-23MAP
    JULIO MEZA-SANCHEZ
                                                        /


                                                  ORDER

            Meza-Sanchez was convicted of conspiring to possess with the intent to

    distribute five kilograms or more of cocaine while aboard a vessel, for which offense he

    serves 300 months. Meza-Sanchez challenges his conviction and sentence in a motion

    to vacate pursuant to 28 U.S.C. § 2255 (Doc. 1). The motion to vacate is premature.

            Rule 4, Rules Governing Section 2255 Cases, requires a preliminary review of

    the motion to vacate. Section 2255 requires denial of the motion without a response if

    the "motion and the files and records of the case conclusively show that the prisoner is

    entitled to no relief . . . ." Accord Wright v. United States, 624 F.2d 557, 558 (5th Cir.

    1980)* (summary dismissal of a Section 2255 motion was proper "[b]ecause in this case

    the record, uncontradicted by [defendant], shows that he is not entitled to relief."); Hart

    v. United States, 565 F.2d 360, 361 (5th Cir. 1978) ("Rule 4(b) of § 2255 allows the

    district court to summarily dismiss the motion and notify the movant if 'it plainly appears



            *
             Unless later superseded by Eleventh Circuit precedent, a Fifth Circuit decision issued
    before October 1, 1981, binds this court. Bonner v. City of Prichard, 661 F.2d 1206, 1207 (11th Cir.
    1981) (en banc).
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    from the face of the motion and any annexed exhibits and the prior proceedings in the

    case that the movant is not entitled to relief.'").

           The docket for the criminal case shows both that on December 24, 2010,

    Meza-Sanchez appealed (Doc. 124) and that the appeal is still pending. Consequently,

    the motion to vacate is premature. United States v. Dunham, 240 F.3d 1328, 1329 - 30

    (11th Cir. 2001) ("We conclude that the district court lacked jurisdiction to consider and

    rule on Dunham's § 2255 motion during the pendency of her direct appeal of her

    sentence, and therefore her appeal of the district court's denial of that motion is

    dismissed without prejudice and the district court's order denying Dunham's § 2255

    motion is vacated without prejudice to Dunham's right to file a § 2255 motion after the

    disposition of her direct appeal.").

           Accordingly, the motion to vacate (Doc. 1) is DISMISSED without prejudice as

    premature. The clerk shall close this case.

           ORDERED in Tampa, Florida, on March 31, 2011.




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